Case 1:13-cv-02575-GBD-JCF Document 30

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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SECURITIES AND EXCHANGE :
COMMISSION,

Plaintiff,

-against-

GIBRALTAR GLOBAL SECURITIES,
INC., et al.,

Defendants.
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GEORGE B. DANIELS, United States District Judge:

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For the reasons stated on the record on March 19, 2014, Defendants’ Motion to Dismiss

the complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) is DENIED. The request to

consolidate this case with SEC v. Carrillo Huettel LLP, et al. (13 Civ. 1935) is DENIED without

prejudice to renew before trial.

The Clerk of Court is directed to close the motion at ECF No. 12.

Dated: New York, New York

March 20, 2014 SO ORDERED.

B. DANIELS

United States District Judge
